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Patrick A. Swindell
Swindell Law Firm
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS

AMARILLO DIVISION
IN RE:
§
Krisu Hospitality LLC § CASE NO, 19-20347-11
§
§
DEBTOR §

VERIFIED STATEMENT OF ATTORNEY

Pursuant to [1 U.S.C. 329(a) and the Bankruptcy Rules 2014(a) and 2016(b), Patrick A.
Swindell, the Attorney, on behalf of himself, being of lawful age, state and declare under penalty
of perjury as follows:

1, The Attorney is admitted to practice law in the State of Texas and before the United
States District Court for the Northern District of Texas.

2, The Attorney and his firm is disinterested person, as that term is defined in the
Bankruptcy Code, and do not hold or represent an interest adverse to the estate with respect to
the matter on which they are to be employed.

3. The Attorney has entered into a written agreement with Krisu Hospitality LLC., the
Debtor, regarding the services to be performed for the Debtor in connection with its case and the
compensation to be paid for such services. A copy of this agreement is attached to the
Application for Order Approving Employment of Attorney has been filed with the Court.

4, The Attorney nor his firm has shared or agreed to share any portion of the compensation

paid or to be paid in connection with this case with any other persons.
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5. To the best of my knowledge, Attorney and his firm, has the following connections with
the Debtor, their creditors, other parties in interest, their respective attorneys and accountants, the
United State Trustee, and persons employed in the office of the United States Trustee:

a. The Debtor: The Attorney has represented the Debtor for approximately 4 days
pre-petition in preparing and filing bankruptcy schedules. No fees were owed by the
Debtor to the respective firms for such representation prior to and up to the date of
filing as they have been paid or forgiven and the firms are not a creditor.

b. The Creditors of the Debtor: The Attorney has not nor are they now representing

any creditor of the Debtor.

c. Attorney and Accountants: The Attorney does not have any connections with the

attorneys or accountants of any party in interest.

d. United States Trustee: The Attorney does not have any connections with the United

States Trustee or any person employed in the office of the United States Trustee.
6. The Attorney and his firm understand that there is a continuing duty to disclose any
adverse interest that may arise or be discovered during the course of their case.

Dated:

—

Patrick A. Swindell, Attorney
Swindell Law Firm

106 SW 7th Ave.

Amarillo, TX 7910]

SWORN TO AND SUBSCRIBED TO BEFORE ME by Patrick A. Swindell this day of
November 2019.

 

Notary Public in and for State of Texas
